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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

DR. SHIVA AYYADURAI,

Plaintiff,

Vv. C.A. No. 1:20-11889-MLW

WILLIAM FRANCIS GALVIN,
MICHELLE K. TASSINARI,
DEBRA O'MALLEY,
AMY COHEN,
NATIONAL ASSOCIATION OF STATE
ELECTION DIRECTORS,
all in their individual
capacities, and
WILIAM FRANCIS GALVIN, in his
official capacity as the
Secretary of the Commonwealth
of Massachusetts,

Defendants.

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MEMORANDUM AND ORDER

WOLF, D.J. May 10, 2021

There are now pending before the court plaintiff's Motion for
Joinder and Leave to File a Second Amended Complaint (Docket No.
64), plaintiff's Motion for a Preliminary Injunction (Docket No.
55) and defendants' motions to dismiss the First Amended Complaint
(Docket Nos. 36, 44, 45) (collectively, the "Pending Motions").

It is hereby ORDERED that:

1. A hearing by videoconference on the Pending Motions
shall be held on May 20, 2021, at 9:30 am, and continue from day

to day if necessary.

2. It is the court's present intention to address issues

raised by the Pending Motions in the following sequence:
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(1)

(2)

(3)

(4)

(5)

(6)

Whether the forum selection clause in Twitter, Inc.'s
("Twitter") User Agreement bars plaintiff from
pursuing his claims against Twitter in the District

of Massachusetts. See, e.g., Atl. Marine Const. Co.

 

v. U.S. Dist. Ct. for W. Dist. of Texas, 571 U.S. 49,

 

64 (2013); Nguyen v. Barnes & Noble Inc., 763 F.3d

 

1171, 1175-76 (9th Cir. 2014).
Whether Twitter's forum selection clause is

enforceable against plaintiff. See, e.g., Claudio-De

 

Leon v. Sistema Universitario Ana G. Mendez, 775 F.3d
41, 46 (lst Cir. 2014).

Whether Twitter is a necessary party under Rule 19 of
the Federal Rules of Civil Procedure based on the
claims in the First Amended Complaint (Docket No. 23)
or proposed Second Amended Complaint (Docket No. 78).
Whether permissive joinder of Twitter as a defendant
would be appropriate under Rule 15 of the Federal
Rules of Civil Procedure.

Whether Counts 1-5 of the First Amended Complaint and
proposed Second Amended Complaint should be dismissed
because defendants are entitled to qualified immunity
concerning those claims.

Whether the court has personal jurisdiction

concerning defendant Amy Cohen.

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(7)

(8)

(9)

Whether plaintiff has alleged a plausible claim that
Twitter's suspensions of his Twitter account were
state action that violated plaintiff's rights under
the First Amendment to the United States Constitution.
Whether plaintiff's claims for permanent injunctive
relief are barred by the Eleventh Amendment to the
United States Constitution.

Whether plaintiff's Motion for a Preliminary

Injunction should be granted.

Any party that wishes to supplement its submissions

2021.

concerning the foregoing issues shall do so by 12:00 noon on May

Each of the defendants and Twitter shall have a personal

representative with knowledge of the events underlying the First
Amended Complaint and proposed Second Amended Complaint available

and prepared to testify, if necessary, at the hearing.

      
 

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